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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                           Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,
                                           FILED UNDER SEAL
               Defendant.


   GOVERNMENT’S REPLY IN SUPPORT OF MOTION FOR STATUS HEARING


       In reply to defendant Concord Management and Consulting LLC’s response to the

government’s motion for a status hearing, and in the interest of completing the record regarding

the parties’ communications about access to the sensitive discovery, the government submits as

Exhibit A an email chain reflecting further correspondence between the parties on this matter.



                                     Respectfully submitted,

ROBERT S. MUELLER, III                                      JESSIE K. LIU
Special Counsel                                             United States Attorney

By: /s/                                                     By: /s/
Jeannie S. Rhee                                             Jonathan Kravis
L. Rush Atkinson                                            Deborah Curtis
950 Pennsylvania Avenue NW                                  Kathryn Rakoczy
Washington, D.C. 20530                                      555 Fourth Street NW
Telephone: (202) 616-0800                                   Washington, D.C. 20530
                                                            Telephone: (202) 252-6886




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JOHN C. DEMERS
Assistant Attorney General for National Security

By: /s/
Heather N. Alpino
U.S. Department of Justice
National Security Division
950 Pennsylvania Ave. NW
Washington, D.C. 20530
Telephone: (202) 514-2000


                             CERTIFICATE OF SERVICE

I hereby certify that on April 3, 2019 I caused a copy of the foregoing supplemental filing

to be transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for Concord

Management and Consulting LLC, via email.



                                                     By: /s/
                                                     Jonathan Kravis
                                                     Assistant United States Attorney
                                                     555 Fourth Street NW
                                                     Washington D.C. 20530




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